     Case 2:20-cv-02326-AB-E Document 18 Filed 06/30/20 Page 1 of 1 Page ID #:73



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8                              UNITED STATES DISTRICT COURT
9                             CENTRAL DISTRICT OF CALIFORNIA
10      JOSHUA AGUILAR,                            Case No. CV 20-02326 AB (Ex)
11                      Plaintiff,
12      v.                                         ORDER DISMISSING CIVIL ACTION
13
        BANK OF AMERICA, N.A.,
14
                        Defendant.
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             THE COURT having been advised by counsel that the above-entitled action has
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       been settled;
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             IT IS THEREFORE ORDERED that this action is hereby dismissed without
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       costs and without prejudice to the right, upon good cause shown within 45 days, to re-
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       open the action if settlement is not consummated. This Court retains full jurisdiction
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       over this action and this Order shall not prejudice any party to this action.
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23
24     Dated: June 30, 2020             _______________________________________
                                        ANDRÉ BIROTTE JR.
25                                      UNITED STATES DISTRICT JUDGE
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                                                  1.
